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Approved:
             MICHAEL K. KROUSE/ JASON A. RICHMAN
             Assistant United States Attorneys

Before:      THE HONORABLE HENRY B. PITMAN
             United States Magistrate Judge
             Southern District of New York           19 MAG 626
------------------------------------ X
                                                   SEALED
UNITED STATES OF AMERICA                           COMPLAINT

             - v. -                                Violations of
                                                   18 U.S.C. §§ 2339B,
ALEXEI SAAB,                                       2339D, 371, 1425(a),
     a/k/a "Ali Hassan Saab,"                      3291, 1546 (a) t
     a/k/a. "Alex Saab,"                           1015(a), 1001 & 2
     a/k/a "Rachid,"
                                                   COUNTY OF OFFENSE:
                   Defendant.                      NEW YORK


------------------------------------ X

STATE OF NEW YORK
                                          ss.:
COUNTY OF NEW YORK

          ANTHONY J. CIPRIANO, being duly sworn, deposes and says
that he is a Special Agent with the Federal Bureau of Investigation
("FBI"), and charges as follows:

                                  COUNT ONE

                   (Provision of Material Support to a
               Designated Foreign Terrorist Organization)

     1.   From at least in or about 1996, up to and including in
or about March 2019, in the Southern District of New York and
elsewhere, ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab,"
a/k/a "Rachid," the defendant, knowingly provided, attempted to
provide, and aided and abetted the provision of "material support
or resources," as that term is defined in Title 18, United States
Code, Section 2339A(b) -- to wit, tangible and intangible property,
services, expert advice and assistance, and personnel (including
himself) -- to a foreign terrorist organization, to wit, Hizballah,
which at all relevant times was designated by the Secretary of
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State as a foreign terrorist organization pursuant to Section 219
of the Immigration and Nationality Act ("INA"), and is currently
designated as such as of the date of the filing of this Complaint,
knowing that Hizballah was a designated terrorist organization (as
defined in Title 18, United States Code, Section 2339B(g) (6)),
that Hizballah engages and has engaged in terrorist activity (as
defined in section 212 (a) (3) (B) of the INA), and that Hizballah
engages and has engaged in terrorism (as defined in section
140(d) (2) of the Foreign Relations Authorization Act, Fiscal Years
1988 and 1989).

         (Title 18, United States Code, Sections 2339B and 2.)

                                  COUNT TWO

              (Conspiracy·to Provide Material Support to a
               Designated Foreign Terrorist Organization)

       2.   From at least in or about 1996, up to and including in
  or about March 2019, in the Southern District of New York, and
· elsewhere, ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab,"
  a/k/a "Rachid," the defendant, and others known and unknown,
  knowingly and intentionally combined, conspired, confederated, and
  agreed together and with each other to provide "material support
  or resources," as that term is defined in Title 18, United States
  Code, Section 2339A(b), to a foreign terrorist organization, to
  wit, Hizballah, which at all relevant times was designated by the
  Secretary of State as a foreign terrorist organization pursuant to
  Section 219 of the INA, and is currently designated as such as of
  the date of the fil~ng of this Complaint.

      3.    It was a part and an object of the conspiracy that ALEXEI
 SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid,"
 the defendant, and others known and unknown, would and did
 knowingly provide Hizballah with material support and resources -
 - to wit tangible and intangible property, services, expert advice
 and assistance, and personnel (including SAAB)          knowing that
 Hizballah was a/designated terrorist organization (as defined in
 Title 18, United States Code, Section 2339B(g) (6) ), that Hizballah
 engages and has engaged in terrorist activity (as defined in
 section 212 (a) (3) (B) of the INA), and that Hizballah engages and
 has engaged in terrorism (as defined in section 140 (d) (2) of the
 Foreign Relations Authorization Act, Fiscal Years 1988 and 1989),
 in violation of Title 18, United States Code, Section 2339B.

      4.   In furtherance of the conspiracy and to ef feet the
 illegal object thereof, ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a
 "Al~~    g~~b, rr   a/k/a   "Rachid,"       thg   dgfgnd~nt,   ~nd   hi~   co-

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conspirators   comrni tted   the   overt   acts   set   forth   below,   among
others:

          a.   Between in or about 1996 and in or about 2005, SAAB
participated in extensive Hizballah training,        including in
surveillance, firearms, and the production and use of explosives.

          b.   In or about 2003, SAAB provided Hizballah with
intelligence and photographs concerning several locations SAAB had
surveilled in the New York City area, including the Port Authority
Bus Terminal, Grand Central Terminal, the New York Stock Exchange,
26 Federal Plaza, and local airports.

          c.   In or about 2005, SAAB traveled to Istanbul, Turkey
and provided intelligence concerning his trip to Hizballah.

          d.  In or about 2005, at Hizballah's direction, SAAB
attempted to murder a person he came to believe was an Israeli
spy.

           (Title 18, United States Code, Section 2339B.)

                               COUNT THREE

             (Receipt of Military-Type Training from a
            Designated Foreign Terrorist Organization)

     5.   From at least in or about 1996, up to and including in
or about March 2019, in Lebanon and elsewhere, and in an offense
begun and committed out of the jurisdiction of any particular State
or district of the United States, ALEXEI SAAB, a/k/a "Ali Hassan
Saab," a/k/a "Alex Saab," a/k/a "Rachid," the defendant, who is
expected to be first arrested in the Southern District of New York,
knowingly received military-type training from and on behalf of
Hizballah, which at all relevant times was designated by the
Secretary of State as a foreign terrorist organization pursuant to
Section 219 of the INA, and is currently designated as such as of
the date of the filing of this Complaint, knowing that Hizballah
was a designated foreign terrorist organization (as defined in
Title 18, United States Code, Section 2339D ( c) ( 4) ) , that Hizballah
engages and has engaged in terrorist activity (as defined in
section 212 (a) (3) (B) of the INA), and that Hizballah engages and
has engaged in terrorism (as defined in section 140 (d) (2) of the
Foreign Relations Authorization Act, Fiscal Years 1988 and 1989),
to wit, SAAB received training in the use of weapons and in the
construction and use of explosives from other members of Hizballah.

     (Title 18, United States Code, Sections 2339D an¢~~~$,)



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                               COUNT FOUR

       (Conspiracy to Receive Military-Type Training from a
           Designated Foreign Terrorist Organization)

     6.   From at least in or about 1996, up to and including in
or about March 2019, in Lebanon and elsewhere, and in an offense
begun and committed out of the jurisdiction of any particular State
or district of the United States, ALEXEI SAAB, a/k/a "Ali Hassan
Saab," a/k/a "Alex Saab," a/k/a "Rachid," the defendant, who is
expected to be first arrested in the Southern District of New York,
and others known and unknown,        knowingly and intentionally
combined, conspired, confederated, and agreed together and with
each other to receive military-type training from and on behalf of
Hizballah, which at all relevant times was designated by the
Secretary of State as   a
                        foreign terrorist organization.pursuant to
Section 219 of the INA, and is currently designated as such as of
the date of the filing of this Complaint.

     7.    It was a part and an object of the conspiracy that ALEXEI
SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid,"
the defendant, and others known and unknown, would and did
knowingly receive military-type training from and on behalf of
Hizballah,   knowing that Hizballah was a designated foreign
terrorist organization (as defined in Title 18, United States Code,
Section 2339D (c) ( 4)), that Hizballah engages and has engaged in
terrorist activity (as defined in section 212 (a) (3) (B) of the INA),
and that Hizballah engages and has engaged in terrorism (as defined
in section 140 (d) (2) of the Foreign Relations Authorization Act,
Fiscal Years 198 8 and 198 9) , in violation of Title 18, United
States Code, Section 2339D.

     8.   In furtherance of the conspiracy, ALEXEI SAAB, a/k/a
"Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid," the
defendant, and his co-conspirators committed the overt acts set
forth in paragraph 4 above, which is fully incorporated by
reference herein, among others.

  (Title 18, United States Code, Sections 371, 2339D, and 3238.)

                               COUNT FIVE

    (Unlawful Procurement of Citizenship or Naturalization· to
          Facilitate an Act of International Terrorism)

     9.   From at least in or about 2005, up to and including in
or about 2008, ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex
g~~b," ~/~/a TIRJchid," thg dgfgndant, in th~ southern Diatrict of

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New York and elsewhere, knowingly procured and attempted to
procure, contrary to law, the naturalization of a person to
facilitate an act of international terrorism as defined in Title
18, United States Code, Section 2331, to wit, SAAB submitted a
naturalization application for himself containing false statements
relating to, among other things, his membership in and provision
of support and resources to Hizballah.

     (Title 18, United States Code, Sections 1425(a) and 2.)

                                COUNT SIX

                      (Marriage Fraud Conspiracy)

     10. From at least in or about July 2012 up to and including
in or about July 2019, in the· Southern Distri°ct of New York and
elsewhere, ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab,"
a/k/a "Rachid," the defendant, and others known and unknown,
knowingly and intentionally combined, conspired, confederated, and
agreed together and wi t,h each other to commit an offense against
the United States, to wit, a violation of Title 8, United States
Code, Section 1325(c).

     11.  It was a part and object of the conspiracy that ALEXEI
SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid,"
the defendant, and others known and unknown, knowingly would and
did enter into a marriage for the purpose of evading provisions of
the immigration laws.

     12.   In    furtherance   of   the   conspiracy   and   to   effect   the
illegal object thereof, ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a
"Alex Saab," a/k/a "Rachid," the defendant,        and his    co-
conspirators committed the following overt acts, among others, in
the Southern District of New York and elsewhere:

                a.In or about July_ 2012, SAAB married a co-
conspirator not named herein ("CC-1"), in Manhattan, New York, so
that CC-1 could obtain citizenship benefits in the United States.

             b.   In or about March 2015, SAAB and CC-1 filed a
joint petition (the "Petition") seeking to remove conditions on
CC-1' s residence. · In the Petition, both SAAB and CC-1 falsely
affirmed under penalty of perjury that their marriage "was not for
the purpose of procuring an immigration benefit."

           (Title 18, United States Code, Section 371.)




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                              COUNT SEVEN

                  (Citizenship Application Fraud)

     13.   In or about March 2015, in the Southern District of New
York and elsewhere, ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a
"Alex Saab," a/k/a "Rachid," the defendant, knowingly subscribed
as true under penalty of perjury, and aided and abetted and caused
the subscription as true under penalty of perjury, a false
statement with respect to a material fact in an application,
affidavit, and other document required by the immigration laws and
regulations prescribed thereunder, and knowingly presented, and
aided and abetted and caused the presentation of, such an
application, affidavit, and other document which contained such
false ~tatement and whtch failed to co~tain any reaso~able basis
in law and fact, to wit, SAAB and CC-1 jointly filed the Petition
in which they falsely affirmed under penalty of perjury that their
marriage "was not for the purpose of procuring an immigration
benefit."

     (Title 18, United States Code, Sections 1546(a) and 2.)

                             COUNT EIGHT

                        (Naturalization Fraud)

     14. In or about March 2015, in the Southern District of New
York and elsewhere, ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a
"Alex Saab," a/k/a "Rachid," the defendant, knowingly made, and
aided and abetted the making of, a false statement under oath, in
a case, proceeding, and matter relating to, under, and by virtue
of a law of the United States relating to naturalization,
citizenship, and registry of aliens, to wit, SAAB affirmed, and
aided and abetted CC-l's affirmance, in the Petition, under penalty
of perjury, that their marriage "was not for the purpose of
procuring an immigration benefit."

     (Title 18, United States Code, Sections 1015(a) and 2.)

                              COUNT NINE

                          (False Statements)

     15.  In or about March 2015, in the Southern District of New
York and elsewhere, ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a
"Alex Saab," a/k/a "Rachid," the defendant, in a matter within the
jurisdiction of the executive branch of the Government of the



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United States, knowingly and willfully falsified, concealed, and
covered up by a trick, scheme, and device a material fact, and
made materially false, fictitious, and fraudulent statements and
representations, and made and used a false writing and document
knowing the same to contain a materially false, fictitious, and
fraudulent statement and entry, and aided and abetted the same, to
wit, SAAB affirmed, and aided and abetted CC-l's affirmance, under
penalty of perjury, the false statement contained in the Petition.

       (Title 18, United States Code, Sections 1001 and 2.)

     The bases for my knowledge and the foregoing charges are, in
part, as follows,:

     16.    I am a Special Agent with the FBI, currently assigned to
the New York Jbint Terrorism T~sk Force (the ~JTTF").      The fo6us
of my counterterrorism and counterintelligence efforts has been.
investigating and disrupting terrorist activities by Hizballah
and, in particular, the Islamic Jihad Organization (" IJO") .      I
have also been involved in the investigation of immigration and
fraud related offenses.       I have been personally involved in the
investigation of this matter, and I base this affidavit on that
personal experience, as well as on my conversations with other law
enforcement agents, and my examination of various reports and
records. Because this affidavit is being submitted for the limited
purpose of demonstrating probable cause, it does not include all
the   facts    that  I   have   learned during the course of my
investigation.     Where the contents of documents and the actions,
statements, and conversations of others are reported herein, they
are reported in substance and in part, except where otherwise
indicated.

                                OVERVIEW

     17. The FBI's investigation has revealed that ALEXEI SAAB,
a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid," the
defendant, was a member of the IJO, which is a sophisticated,
highly compartmentalized component of Hizballah responsible for
the  planning,    preparation,   and   execution  of  intelligence,
counterintelligence, and terrorist activities for Hizballah around
the world. Hizballah first recruited SAAB in approximately 1996,
and he initially conducted Hizballah missions inside Lebanon.    In
approximately 2000, SAAB transitioned to membership in the IJO.
Thereafter,   SAAB participated in extensive training in IJO
tradecraft, weapons, and military tactics, including in the
construction of explosive devices.     SAAB also conducted numerous
operations for the IJO.    For example, SAAB attempted to shoot, at
close range, a man he later understood to be an Ista~li ~PY, and


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traveled to Istanbul, Turkey, to gather intelligence for the IJO.
SAAB also executed IJO operations inside the United States.   For
example, SAAB conducted extensive surveillance of dozens of
locations in New York City, and provided detailed information on
these locations, including photographs, to the IJO, for use in
potential attacks. SAAB's reports to Hizballah included the
composition of particular structures, designed to allow Hizballah
and the IJO to maximize destruction of their targets.        SAAB
conducted similar intelligence gathering in a variety of large
American cities, including Boston and Washington, D.C.

          HIZBALLAH AND THE ISLAMIC JIHAD ORGANIZATION

     18. Based on my training and experience, my participation in
this and related investigations, and my review of publicly
available documents, reports, and other materials, I. understand
the following, in substance and in part:

          a.   Hizballah    is  a  Lebanon-based    Shia   Islamic
organization with political, social, and terrorist components.
Hizballah was founded in the early 1980s with support from Iran
after the 1982 Israeli invasion of Lebanon, and its mission
includes establishing a fundamentalist Islamic state in Lebanon.
In 1997, the U.S. Department of State (the "State Department")
designated Hizballah a Foreign Terrorist Organization, pursuant to
Section 219 of the INA, and it remains so designated today.     In
2001, pursuant to Executive Order 13,224, the U.S. Department of
the Treasury designated Hizballah a Specially Designated Global
Terrorist entity.   In 2010, State Department officials described
Hizballah as the most technically capable terrorist group in the
world and a continued security threat to the United States.

          b.    The IJO, which is also known as the External
Security Organization and "910," is a component of Hi zballah
responsible for the planning and coordination of intelligence,
counterintelligence,   and terrorist activities on behalf of
Hizballah outside of Lebanon.       IJO operatives are typically
assigned a Lebanon-based "handler," sometimes referred to as a
mentor, responsible for providing taskings, debriefing operatives,
and arranging training. IJO often conducts targeted operations in
stages, sending waves of one or more operatives with separate
taskings such as surveillance, obtaining and storing necessary
components and equipment, and attack execution.

          c.   Since Hizballah's formation, the organization has
been responsible for numerous terrorist attacks that have killed
hundreds, including the 1983 bombing of the United States Marine
baf~~~k~ i~ Lebanon, whlch k1lled ~4i Marines; the 1983 bombing of

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the United States Embassy in Beirut, which killed 24 people; the
1985 hijacking of TWA Flight 847, which killed one U.S. citizen;
the 1992 bombing of the Israeli Embassy in Argentina, which killed
29 people; and the 1994 bombing of a Jewish cul t_ural center in
Buenos Aires, which killed 85 people.

          d.   In July and August 2006, Hizballah and Israel
engaged in armed conflict (the "2006 Lebanon War"), resulting in
numerous casualties, after an incident on or about July 12, 2006
when Hizballah attacked Israeli Defense Force ("IDF") personnel.
A ceasefire brokered by the United Nations went into effect on
August 14, 2006.

          e.   In January 2012, Hussein Atris, an IJO operative
with dual Leb~nese-Swedish ci~izenship, was d~tained in Thail?nd
as he tried to board a flight at a Bangkok airport.          Atris
subsequently led law enforcement personnel to a commercial
building near Bangkok that housed a cache of nearly 10,000 pounds
of urea-based fertilizer and 10 gallons of ammonium nitrate, which
are chemicals that I know, based on my training and experience,
can be used to construct explosives.     The ammonium nitrate was
stored in first aid ice packs.

          f.   In July 2012, Mouhamad Hassan Mouhamad El Husseini,
an IJO operative with dual Lebanese-French citizenship, detonated
explosives on a bus transporting Israeli tourists in the vicinity
of an airport in Burgas, Bulgaria. Six people were killed and 32
others were injured. Law enforcement authorities recovered three
fraudulent, purportedly U.S.-based, driver's licenses during the
investigation, subsequently linked the attack to the IJO, and
determined that ammonium nitrate was an active ingredient in the
explosives.

          g.   Also in July 2012, Hossam Taleb Yaacoub, an IJO
operative with dual Lebanese-Swedish citizenship, was arrested
after conducting surveillance of Isr~eli tourists in the vicinity
of an airport in. Larnaca, Cyprus.    Law enforcement authorities
seized from Yaacoub a notebook containing coded entries relating
to, among other things, Israeli tour buses. In March 2013, Yaacoub
was convicted of crimes in Cyprus relating to these a'cti vi ties on
behalf of the IJO.

          h.   In May 2015, Hussein Bassam Abdallah, an IJO
operative with dual Lebanese-Canadian citizenship, was arrested in
Cyprus after Cypriot authorities seized from an apartment rented
by Abdallah approximately 8.2 tons of ammonium nitrate, at least
some of which was stored in First Aid ice packs.          Abdalli?-h



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possessed a copy of a fraudulent passport at the time of his
arrest·, and he was subsequently convicted of crimes in Cyprus
relating to these activities on behalf of the IJO.

          i.   In June 2017, two IJO operatives were arrested in
the United States and charged with terrorism-related offenses in
the Southern District of New York. In May 2019, a jury convicted
one of those two IJO operatives on all counts.

                   COOPERATING WITNESS-1 ("CW-1")

     19. Based on my participation in this           investigation,
including my participation in interviews of an individual ("CW-
1"), my review of reports concerning interviews of CW-1, and my
conversations with other FBI agents concerning CW-1, I have learned
the following:

          a.    CW-1 is a former IJO member who was arrested in the
United States in or about June 2017. CW-1 has since pleaded guilty
to a number of terrorism-related offenses pursuant to a cooperation
agreement with the Government.

          b.   CW-1 was recruited into the IJO in or about 2007,
and remained an IJO member until in or about 2016.

          c.   CW-1 received extensive training from the IJO as a
bomb-maker, and developed a significant degree of technical
sophistication in the area.   CW-1 reported to multiple Hizballah
operatives who were responsible for his training or tasking, also
known as his "handlers." As part of his IJO training in Lebanon,
CW-1 was transported to training sites by other Hizballah
affiliates, including in vehicles with blacked out windows, and he
participated in,   among other things,     surveiflance, counter-
surveillance, and military training.    Among other things, CW-1
learned how to construct and detonate explosive devices.

          d.   CW-1 completed multiple operations on 'behalf of the
IJO, including in Panama and Thailand.  In Panama, the IJO tasked
CW-1 with surveilling numerous potential targets for future IJO
attacks. In Thailand, CW-1 removed explosive material from an IJO
safe-house believed to be under surveillance.

                          SAAB'S BACKGROUND

     20. Based on my review of documents and information
maintained by federal authorities in the United States, I am aware
of the following, in substance and in part:



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          a.   ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex
Saab," a/k/a "Rachid," the defendant, is a 42-year-old naturalized
United States citizen.

          b.   On or about November 18, 2000, SAAB               lawfully
entered the United States using a Lebanese passport.

          c.   On or about December 6, 2005, SAAB applied for
naturalized citizenship with the Immigration and Naturalization
Service.   In his application for naturalization, SAAB affirmed,
under penalty of perjury, that he had never been "a member of or
in any way associated with .   . a terrorist organization."

          d.   On or about August 26,            2008,   SAAB   became   a
naturalized citizen of the United States.

          e.   Between on or about November 18, 2000, and on or
about June 18, 2017, SAAB has traveled to Lebanon approximately 10
times.

SAAB'S RECRUITMENT AND INITIAL TRAINING BY HIZBALLAH AND THE IJO

     21.  I and other agents of the FBI have interviewed ALEXEI
SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid,"
the defendant, in person a total of approximately 11 times between
on or about March 14 and July 8, 2019 (collectively, the "SAAB
Interviews") .  Based on my participation in the SAAB Interviews
and my review of reports of the SAAB Interviews, I have learned
the following, in substance and in part:

          a.   SAAB confirmed at each of the SAAB Interviews that
he was participating in the interview voluntarily.

          b.   SAAB was recruited into Hizballah in or about 1996
when SAAB met a fellow student ("Student-1") at the University of
Lebanon (the "University"). Student-1 was a member of Hizballah's
student organization at the University and Student-1 introduced
SAAB to a Hizballah member ("Handler-1") during a study group
session. Handler-1 then recruited SAAB into Hizballah and became
SAAB's first handler, responsible for SAAB's initial training and
tasking on behalf of Hizballah. 1


1 Based on my training and experience, including my review of
reports of interviews with CW-1 (see supra~ 19(c)), I have learned
that IJO operatives typically have one or more "handlers" who are
responsible for their training and operations.



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           c.    Between approximately 1996 and 2000, SAAB met with
Handler-1 at least 15 times.     During this time period, Handler-1
assigned    SAAB   his   initial   Hizballah   operations.     More
specifically, Handler-1 tasked SAAB with observing and reporting
on the actions and movements of Israeli and Southern Lebanese Army
soldiers in Yaroun, Lebanon. Handler-1 told SAAB to observe, among
other things, patrol schedules and formations, procedures at
security checkpoints, and the description of vehicles used by
soldiers, including whether the vehicles appeared to be armored.
At the conclusion of each of his trips to Yaroun to conduct this
tasking, SAAB wrote a report about what he had observed and
provided the report to Handler-1.

          d.   In approximately 1999, SAAB attended his first
Hizballah training.    This training was focused on the use of
firearms, and, during· the course of this training, SAAB handled
and fired an AK-47, an M16 rifle, and a pistol, and threw grenades. 2

    SAAB'S TRAINING ESCALATES AND HE LEARNS TO CONSTRUCT EXPLOSIVES

          e.   At some point before SAAB moved to the United
States, Handler-1 introduced SAAB to another man who then became
one of SAAB's primary handlers. 3  SAAB was eventually introduced
to two additional handlers, and he interacted with all of these
handlers over the course of the ensuing years. 4

          f.   Handler-2 at first tasked SAAB in a similar manner
to Handler-1, and had SAAB report on troop movements and other
information from Yaroun.




2 Based on my training and experience, I have learned that the AK-
47 and Ml6 assault rifles are firearms capable of automatically
firing more than one shot without manual reloading.

3 Based on my review of documents maintained by federal authorities
in the United States, I have learned that SAAB first moved to the
United States on or about November 18, 2000.     See supra~ 20(b).
Thereafter, SAAB traveled back to Lebanon approximately 10 times.
See supra~ 20(e).

4 SAAB has at times conflated handlers when describing which
handler tasked him with particular operations.     This affidavit
uses the term "Handler-2" to refer to the three handlers, other
than Handler-1, whom SAAB dealt with during his time in the IJO.



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               g.   Handler-2 provided SAAB with a method of electronic
     communication that the IJO would use to contact SAAB while he was
     in the United States. More specifically, Handler-2 told SAAB that
     if Hizballah ever needed him to return to Lebanon, SAAB would
     receive an email to his personal email account that would appear
     to be spam. There would be a coded signal concealed in either the
     subject or the body of the message that would alert SAAB of the
     need to return to Lebanon.

               h.   Handler-2   also  provided   SAAB  with   a  secure
     communications procedure through which SAAB could contact Handler-
     2 when SAAB returned to Lebanon from the United States. More
     specifically, Handler-2 provided SAAB with a phone number and
     numeric code, and Handler-2 instructed SAAB to call the phone
     number and key in the code to inform Handler-2 that SAAB had
     returned to Lebanon. After Handler-2 received.the code from SAAB,
     Handler-2 would contact SAAB on his personal cellphone or at his
     family home in Yaroun, Lebanon.

               i.   SAAB' s training continued between 2000 and 2005,
     and SAAB at some point realized that he was being trained for
     Hizballah's external operations unit-i.e., the IJO. When SAAB
     traveled to training sites, he waited at a predetermined location
     in Beirut, where, like CW-1, see supra~ 19(c), he was picked up
     by a white van with blacked out windows. Inside the van, each row
     of seats was separated by curtains.     Upon arrival at a training
     location, SAAB and the other trainees exited, while wearing masks,
     one by one, and entered a classroom. In the classroom, SAAB and
     the other trainees were separated by partitioned cubicles, and
     they were not allowed to talk amongst themselves or share any
     personal information.    During SAAB' s training, he and the other
     trainees used fictitious names.   SAAB primarily went by "Rashid."

               j.   SAAB   attended    training  for  surveillance   and
     counter-surveillance,    including,   among  other  things,   field
     exercises in Beirut and classroom instruction. In addition, SAAB
     developed tradecraft in conducting surveillan<:::e and in taking
     videos and photographs for the IJO without drawing the attention
     of law enforcement authorities. For videos, SAAB learned to start
     by recording an unrelated subject before panning the camera to the
     object of his surveillance.     SAAB also took videos from a high
     altitude and different zoom ranges to show perspective relevant to
     Hizballah. For photographs, SAAB learned to position an unrelated
     subject as the focus point of the picture, with the true object of
     surveillance in the background. SAAB would also often pose people
     in front of the intended objects of his surveillance, to provide
     perspective and shield his true purpose from law enforcement.



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           k.   In 2004 and 2005, SAAB attended explosives training
in Lebanon.   The•training included detailed instruction in, among
other   things,   triggering  mechanisms,    explosive  substances,
detonators, and the assembly of circuits. The explosives training
lasted for several days over the course of a three-week period.
Portions of the training took place in an underground workshop,
and the training included instruction on the various shapes of
explosive charges aµd their most effective uses, including the
types most effective against ·certain Israeli targets.    SAAB also
learned about the construction of detonators, circuit boards, and
triggering mechanisms.

          1.   During the course of the explosives training, SAAB
created a "sticky bomb" which he then tested in the mountains
outside of Beirut.   SAAB' s device was connected to wires with a
~etal tube atta~hed, which was ~hen plugged info C4 explosives~
SAAB's device detonated successfully. SAAB and the other trainees
traveled by van to a safehouse near the mountains for this portion
of their training.

           m.  During the course of the SAAB Interviews, SAAB drew
the below diagrams of certain explosives that he had learned to
construct:

       Explosive 1            Explosive 2            Explosive 3




      -----7
                 I
                 I




          n.   During his explosives training, which took place
shortly after the death of former Lebanese Prime Minister Rafic
Hariri, SAAB was presented with photographs depicting the scene of




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Hariri's death. 5 SAAB and the other trainees were then required
to analyze the photographs to determine where the center of the
blast occurred and the size, type, and triggering mechanism of the
explosive that was used.

           o.  In approximately April 2005, SAAB departed Lebanon
and flew through Turkey back to the United States.           While
traveling, SAAB was stopped and interviewed at the airport in
Istanbul, Turkey, due to the detection of an explosive substance
on his luggage or clothing. SAAB had just completed his explosives
training prior to traveling, which SAAB believed resulted in the
detection.

     22. Based on my review of reports and records maintained by
federal authorities in the United States, I have learned the
following, ip substance and in part:

          a.   On or about April 14, 2005, ALEXEI SAAB, a/k/a "Ali
Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid," the defendant,
arrived at John F. Kennedy International Airport, in Queens, New
York, where he was interviewed by law enforcement (the "JFK
Interview").

          b.   During the course of the JFK Interview, SAAB
acknowledged that he had been interviewed by Turkish authorities
concerning the discovery of explosive traces on his carry-on
luggage.   SAAB denied any knowledge of why his luggage tested
positive.

      23. Based on my conversations with an FBI Special Agent Bomb
Technician ("SABT-1"), and my review of FBI and other law
enforcement reports, I have learned that SABT-1 reviewed the
diagrams made by ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex
Saab," a/k/a "Rachid," the defendant,       depicted above,    and
concluded the following, in substance and in part:

          a.   SABT-1 assessed Explosive 1 as a viable victim-
actuated device, designed to detonate when an action was taken by
a potential victim.




s Based on my review of publicly available information, I have
learned that Hariri was reported dead on or about February 14,
2005.

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          b.   SABT-1 assessed Explosive 2 as another viable
victim-actuated device, designed to detonate when the briefcase
was lifted off the surface by a potential victim.

          c.   SABT-1 assessed Explosive 3 as a viable improvised
mortar device, meaning it is command initiated and able to detonate
on a time delay.

        SAAB GATHERS INTELIGENCE FOR THE IJO ON POTENTIAL
               TARGETS TO ATTACK IN NEW YORK CITY

     24.  Based on my participation in the SAAB Interviews and my
review of reports of the SAAB Interviews, I have learned the
following, in substance and in part:

          a.   In or about 2003, ·Handler-2 told ALEXEI SAAB, a/k/a
"Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid," the
defendant, to surveil certain "hot spots" in New York City and to
report intelligence about them to the IJO.     SAAB then conducted
surveillance and intelligence gathering for the IJO of dozens of
locations in New York City and elsewhere.

          b.   SAAB explained that the IJO had trained SAAB so
that his mindset was that he should always be gathering
intelligence, and he was on "autopilot" to collect intelligence at
any opportunity, including while he was in New York City.     SAAB
explained that he would often take photographs that had a "dual
purpose," both as a tourist interested in certain landmarks and to
provide the photographs and information back to the IJO for
intelligence gathering.

          c.   SAAB focused on structural weaknesses of the
locations he surveilled to determine how a future attack could
cause the most destruction-i.e., he sought to learn how to maximize
damage if the IJO later bombed a location.             Among other
information, SAAB focused on the materials used to construct a
particular target, how close in proximity one could get to a
target, and site weaknesses or "soft spots" that the IJO could
exploit if it attacked a location in the future.

          d.   SAAB understood that the information he provided to
the IJO would be used to calculate the size of a bomb needed to
target a particular structure and the ideal location in which to
place explosive devices to maximize damage.     For example, SAAB
provided information on how to target bridges to best allow the
IJO to "disable" them and to prevent them from being used.      To
that end, SAAB looked for weak points in the bridge's structure,
~nd the photographo he took would focu3 on ~tructurJl ctgtJilg guch

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as the main joints, the towers, and the cables. See, e.g., infra
~~ 25, 27, 31 (depicting surveillance photographs the FBI recovered
from SAAB's electronic devices).

          e.   In   approximately 2003    in  Lebanon;   SAAB was
transported to a safehouse where he met with Handler-2.      There,
Handler-2 told SAAB to prepare a detailed guide to New York City.
Over the course of the following two days, SAAB wrote an
approximately seven to 10 page report (the "Report") on New York
City.   The first page of the Report was a hand-drawn map with
specific locations annotated by number.    The second page of the
Report had a legend, which indicated how the numbers corresponded
to locations.   The rest of the Report had a detailed summary of
each location. SAAB included, among other locations, the following
in the Report:

                  i.   Federal,   state,    and  local    government
                       buildings, including 26 Federal Plaza;

                 ii.   United Nations headquarters;

                iii.   The Statute of Liberty and Ellis Island;

                 iv.   Rockefeller Center;

                  v.   Wall Street and the New York Stock Exchange;

                 vi.   Times Square;

                vii.   The Empire State Building;

              viii.    Herald Square and Macy's in Midtown;

                 ix.   Local airports, including John F. Kennedy
                       International Airport, LaGuardia Airport, and
                       Newark Liberty International Airport; and

                  x.   Local tunnels and bridges,     including the
                       Lincoln Tunnel,    Holland T~nnel,    Brooklyn
                       Battery   Tunnel,  Brooklyn   Bridge,   George
                       Washington Bridge, Verrazzano-Narrows Bridge,
                       Throgs Neck Bridge, and Goethals Bridge.

          f.   SAAB included in the Report such details as
directions to the local airports, the number of terminals at the
local airports, and which terminals were for international or
domestic travel. After SAAB completed the Report, Handler-2 asked
SAAB certain clarifying questions.



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          g.   Finally, on the same trip to Lebanon during which
he wrote the Report, SAAB provided Handler-2 with a series of
photographs corresponding to the locations he detailed in the
Report.

     25.  Based on my involvement in this investigation, including
my participation in the search of the residence of ALEXEI SAAB,
a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid," the
defendant, and review of reports concerning the same, I have
learned the following, in substance and in part:

           a.   On or about March 14, 2019, pursuant to a search
 warrant authorized by a United States Magistrate Judge in the
 District of New Jersey, law enforcement performed a search (the
 "SAAB Residence Search") of SAAB' s residence in the vicinity of
·Morristown, New.Jersey.

           b.   Among other things, law enforcement recovered a
number of electronic devices (the "SAAB Devices") from the SAAB
Residence.    A search warrant was then obtained for the SAAB
Devices.   The FBI has identified photographs on the SAAB Devices
that depict images matching those that SAAB described as the kind
he provided to the IJO and which show locations in the Report.
For example; the following photographs have been recovered from
the SAAB Devices:

                            Brooklyn Bridge




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               Verrazano-Narrows Bridge




  26 Federal Plaza and other Government Buildings




                 George Washington Bridge




                            19
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           SAAB GATHERS ADDITIONAL INTELLIGENCE IN THE
                    UNITED STATES FOR THE IJO

     2 6. In addition to his IJO Operations in New York City,
ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a
"Rachid," the defendant, has also conducted other surveillance for
the IJO in preparation for a potential attack in other cities in
the United States.   More spec~fically, based on my participation
in the SAAB Interviews and my review of photographs and videos
recovered from the SAAB Devices, I have learned the following, in
substance and in part:

          a.    SAAB admitted that he took photographs in Boston,
Massachusetts, and Washington, D.C., among other cities, that were
of interest to Hizballah. More specifically, SAAB recalled taking
photographs of buildings and locations in Boston including, but
not limited to, Quincy Market and the Prudential Center.        In
Washington, D. C., SAAB recalled taking photographs of buildings
and locations including the Capitol Building, Congress, and the
White House.

     2 7. Based on my training, experience, and involvement in
this investigation and others, including my review of the SAAB
Devices, I have learned the following, in substance and in part:

         a.    The FBI recovered photographs and videos from the
SAAB Devices that depict images and videos matching those that
SAAB described as the kind he provided to IJO and that depict
landmarks in Boston and Washington, D.C., among other locations.
For example, the following photographs have been recovered:

            Prudential Center in Boston, Massachusetts




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              Various landmarks in Washington, D.C.




          b.   In addition, the following        are   screenshots    from
videos recovered from the SAAB Devices:

              Fenway Park in Boston, Massachusetts




Aerial views from the Prudential Center in Boston, Massachusetts




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            United States Capitol in Washington, D.C.




               Lincoln Memorial in Washington, D.C.




         SAAB GATHERS INTELLIGENCE IN TURKEY FOR THE IJO

     28.  Based on my participation in the SAAB Interviews and my
review of reports of the SAAB Interviews, I have learned the
following, in substance and in part:

          a.    In approximately January 2005, ALEXEI SAAB, a/k/a
"Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid," the
defendant, traveled from Lebanon to Istanbul, Turkey for a three
to five day trip.  Prior to his trip, SAAB met with Handler-2, and
Handler-2 told SAAB to,learn enough detail about the city so that
SAAB could later provide information sufficient to describe in
detail the city to someone who had never been there before.




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           b.  SAAB went to a travel agent and received a quote on
the trip to Turkey.  SAAB obtained funding from Hizballah for the
trip. 6  SAAB then went to Istanbul, where he took photos and
possibly purchased a tourist map to take back to Lebanon.    Among
other locations, SAAB visited the Blue Mosque, palaces, and street
markets.

          c.    After his trip to Istanbul, SAAB flew from Istanbul
to Damascus, Syria, where SAAB met Handler-2 in the lobby of the
Al-Safir Hotel.   SAAB and Handler-2 then traveled at night from
Damascus back to Beirut in a black BMW with heavily tinted windows.
They were stopped at the border between Syria and Lebanon, and
Handler-2 provided an identification document to the Syrian
intelligence officers there.     After the officers consulted with
their superiors,
        .
                  Handler-2
                        .    and SAAB were
                                         .
                                           waved through.

      29. Based on my review of the Lebanese Passport of ALEXEI
SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid,"
the defendant, I have learned the following, in substance and in
part:

          a.   On or about January 10, 2005, SAAB obtained a Visa
for entry to Turkey, and on or about January 15, 2005, SAAB entered
Turkey:




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     30.  Based on my involvement in this investigation, including
my participation in the execution of the SAAB Residence Search and



6 According to SAAB, either Handler-2 or one of SAAB's Hizballah
itsfructors paid for lh1s tr1p.


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review of reports concerning the          same,   I   have   learned   the
following, in substance and in part:

          a.   During the course of the SAAB Residence Search, law
enforcement recovered, among other things, an "Istanbul City
Guide," containing, among other things, a map of Istanbul (the
"Istanbul Map") with several landmarks highlighted:




    --·-·-
      ·-
   ISTANBUL
     CITY
     GUIDE




          b.   Based on my review of the Istanbul Map, I have
learned, among other things, that there is what appears to be a
hand-drawn circle around the "Blue Mosque," the same location that
ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a
"Rachid," the defendant, admitted visiting during his operation to
Istanbul for IJO.  See supra~ 28(b).

     31. Based on my participation in the SAAB Devices Search and
review of reports concerning the same,      I have learned the
following,    in substance and in part:

          a.   On a hard drive searched during the SAAB Devices
Search was a folder titled "05-01-14~16 Istanbul."    There are
approximately 208 photographs and 9 videos contained within this
folder, including the following:




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   SAAB ATTEMPTS TO MURDER A SUSPECTED ISRAELI SPY IN LEBANON

     32.  Based on my participation in _the SAAB Interv~ews and my
review of reports of the SAAB Interviews, I have learned the
following, in substance @nd in part:

          a.   During the course     of the surveillance training of
ALEXEI SAAB, a/k/a "Ali Hassan      Saab," a/k/a "Alex Saab," a/k/a
"Rachid," the defendant, between    in or about 2003 and in or about
2005, SAAB attempted to murder a    man he later understood to be an
Israeli spy.

           b.  More specifically, around this time, one of SAAB's
surveillance instructors ("Instructor-1") instructed SAAB to steal
a particular car (the "Mercedes") from a particular location. SAAB
was given a key that appeared to be a universal key capable of
accessing multiple cars, and then proceeded to steal the Mercedes
and deliver it to Instructor-1.    A few days later, Instructor-1
instructed SAAB to meet him at a safehouse where Instructor-1
picked up SAAB in the Mercedes.    When SAAB was in the Mercedes,
Instructor-1 told SAAB to reach under the passenger's seat of the
car.   Under the seat, SAAB removed a plastic bag containing a
silver firearm with an attached ~ilencer.

          c.   SAAB and Instructor-1 then drove approximately 10
minutes to a field outside of Beirut.     A small white van (the
"Van") was parked in the field, and Instructor-1 parked the
Mercedes behind the Van.    Instructor-1 then instructed SAAB to
walk up to the passenger's side of the Van and shoot the p~rson
inside "twice in the belly" and "once in the head."

          d.    SAAB exited the Mercedes, walked to the Van, and
pointed his firearm at the Van's driver (the "Driver"). The Driver
cried out twice, in sum and substance, that it "wasn't him" and
raised his hands in front of his face.       SAAB then pulled the
trigggr rwi~~, but the gun did not flre.

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          e.   Instructor-1 waved SAAB to get back into the
Mercedes, and they fled the scene.    SAAB later came to believe
that the Driver was a suspected Israeli spy.

                    SAAB'S HIZBALLAH PROPAGANDA

     33.  Based on my training, experience, and involvement in
this investigation and others, including my participation in the
SAAB Devices Search and review of reports concerning the same, and
my review of publicly available information, I have learned the
following, in substance and in part:

           a.  On the SAAB Devices, ALEXEI SAAB, a/k/a "Ali Hassan
Saab," a/k/a "Alex Saab," a/k/a "Rachid," the defendant, had, among
other things, a series of photographs, which depict what appears
to be a rally.in Lebanon.     One of those photographs appears·to
depict the current Secretary General of Hizballah,           Hassan
Nasrallah:




          b.   In addition, SAAB appears to have saved on the SAAB
Devices several videos depicting Hizballah propaganda.          For
example, the following are screen shots from videos depicting
Nasrallah, which are saved on the SAAB Devices and appear to have
been aired by Al-Manar television 7 which, based on my training and
experience, I know to be a Lebanese satellite television station
affiliated with Hezbollah that the Treasury Department has
designated a Specially Designated Global Terrorist Entity:




7 I believe these videos are from Al-Manar television based on,
among other things, my familiarity with the logo for Al-Manar which
appears in the upper right corner of the screen shots and videos.


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       SAAB's Fraudulent Marriage and Associated Offenses

      34. As set forth below, I have also been involved in the
investigation of ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex
Saab," a/k/a "Rachid," the defendant, CC-1, and others known and
unknown,  relating to their efforts to obtain United States
citizenship for CC-1 through CC-l's fraudulent marriage to SAAB,
a United States citizen.   Among other things, this investigation
has revealed that (a) SAAB has told others he was paid to marry
CC-1 so that CC-1 could apply for naturalized citizenship in the
United States based on their marriage, see infra~ 36(b); (b) CC-
1 falsified an affidavit for another individual ("CC-2") and that
affidavit was submitted in connection with CC-l's application for
naturalization, see infra~ 39; and (c) SAAB has confessed to law
enforcement that he was paid to marry CC-1 so that CC-1 could apply
fQ~ Vn1t~Q ~tQteu GitiDenohip, oee infra] 40.


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                Relevant Applications and Timeline

     35.  Based on my review of documents obtained from the United
States   Department   of   Homeland  Security,   Citizenship   and
Immigration Services ("OHS") , I have learned the following, in
substance and in part:

          a.   In or about 2005, CC-1, a French citizen, initially
entered the United States under the Visa Waiver Program. 8

          b.   In or about 2009, CC-1 obtained an Fl student visa
to attend college in Manhattan, New York.

          c.  On or about July 13, 2012, ALEXEI SAAB, a/k/a "Ali
Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid," the defendant,
married CC-1. SAAB was a dual ·u.S.-Lebanese citizen.

          d.   On or about October 9, 2012, CC-1 applied for
conditional residency in the United States on the basis of her
marriage to SAAB.

           e.  On or about March 13, 2015, SAAB and CC-1 filed the
Petition, seeking to remove conditions on CC-l's residence i.e.,
seeking to obtain United States citizenship for CC-1. 9     In the
Petition, both SAAB and CC-1 affirmed under penalty of perjury
~that their marriage "was not for the purpose of procuring an
immigration benefit."

      The Origins of the Marriage Fraud Conspiracy in 2011

     36.   On or about April 10, 2018, a United States Magistrate
Judge in the Southern District of New York authorized the execution
of search warrants (the "Search Warrants") on three email accounts:


8 Based on my review of publicly available information, I have
learned that the Visa Waiver Program is a program of the United
States Government that allows citizens of specific countries to
travel to the United States for up to 90 . days for tourism,
business, or while in transit, without having to obtain a visa.

9 Based on my training and experience, I have learned that if an
individual receives conditional permanent resident status based
on, among other things, marriage, it is valid for a certain period
of time, and an indi victual must th.en file a petition, such as the
Petition, to remove conditions on permanent resident status or
risk losing lawful status entirely.



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two used by ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex
Saab," a/k/a "Rachid," the defendant, and one used by CC-1. Based
on my review of materials obtained from execution of the Search
Warrants, I have learned the following, in substance and in part:

          a.    On or about July 25, 2011, CC-1 received an email
from a third individual which read, in substance and in part,
"First, you need=to see what your options for staying here are. I
would say at this p=int, you are left with a marriage for papers.
If you don't find such an arrangement and have to leave, I will
still help you.      . I love you. " 10

          b.    Several times   in 2012,  SAAB emailed himself
documents   containing what   appear  to be his    own WhatsApp
conversations with another individual ("Individual-1") . 11 Based
on my review of draft translations 12 of certain of these
conversations, I have learned the following, in substance and in
part:

                    On or about May 26, 2012, SAAB wrote to
                    i.
Individual-I, "Will you marry me? Don't mull it over, either yes
or no." Individual-I responded, "Yes."

                ii. On or about June 8, 2012, SAAB wrote to
Individual-I, "Will you marry me?," and Individual-1 responded,
"Sure." SAAB then wrote, "You have not yet changed your mind?,"
and Individual-1 replied, "No way."

               iii. On or about June 23, 2012, SAAB wrote to
Individual-1, "I am going in a short while to see my female friend
and her female friend -- the one I told you about, to find out
what's the story." Later on that same day, SAAB wrote, "Are you
jealous for me? To feel me with another, even though it is only
ink on paper?"

10   All typographical ·errors are contained in the original email.

11The WhatsApp conversations list a month and day in the text, but
not a year.   I believe that the conversations took place in 2012
because (a) SAAB emailed them to himself in 2012 and (b) the file
names associated with the conversations appear to identify the
chats in a year-month-date format, which indicates they were from
2012.

12The original conversations took place in Arabic.    The below is
based on a preliminary translation of these conversations prepared
by an pgr linguist, and ls subJect to further review.

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                iv. On or about July 2, 2012, SAAB wrote to
Individual-1 (ellipsis in original), "I am unable to decide.
Whether to take the step with that female or not -- marriage."
Later on that same day, SAAB wrote, "But the idea that someone
will be called my wife is annoying me.           Although she has
slight resemblance to you--:) . "    Later that same day, SAAB
continued, "Other than that, I need the money from any source .
   and the interview tomorrow was through her."           Finally,
Individual-1 asked SAAB, "You'll be living with her, right? -- so
the story looks normal." SAAB replied, "Not necessarily."

                 v. On or about July 3, 2012, SAAB wrote to
Individual-1, "I only met her twice -- one time we spoke and one
time with the '.3-ttorney for me. to ask questio[!.s." Individual-1
responded, "And she is arranging some work for you." Later that
same day, SAAB wrote, "And, I may not even see her once a week. I
told you, she has a guy -- and he has money."

                vi. On or about July 10, 2012, the following
exchange took place:

                Individual-1:    Two years for how much, Ali?

                SAAB:            25,000.00

                Individual-1:    They were 10,000.

                SAAB:            10,000 at first --

                SAAB:            -- and 10,000 when she gets it.

                SAAB:            And if you take into account the
                                 house rent difference, it becomes
                                 30,000.

                Individual-1:    Well, what does the house rent
                                 have to do with this?

                Individual-1:    You will live together?

                SAAB:            We have to live together.  I will
                                 have my room with its own bath.

           C.  On or about September 27, 2012, CC-1 emailed a copy
of a marriage certificate (the "Marriage Certificate") to another
individual.   Based on mr review of the Marriage Cert;:.j.:ti,<;9,t~ 1 I



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have learned, in substance and in part, that SAAB and CC-1 were
married on or about July 13, 2012, at the Office of the City Clerk
in Manhattan, New York.

                   The 2015 Petition and Affidavits
                        .
     37. Based on my review of materials received from DHS,               I
have learned the following, in substance and in part:

          a.   On or about March 13, 2015, ALEXEI SAAB, a/k/a "Ali
Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid," the defendant,
and CC-1, jointly filed the Petition seeking to obtain naturalized
citizenship for CC-1.

            b.   The basis for the Petition was SAAB's marriage to
  CC-1. Specifically, SAAB and CC-1 jointly filed the Petition, and
, they checked the box indicating that "[CC-l]'s conditional
  residence is based on my marriage.         to a U.S. citizen or
  permanent resident, and I am filing this joint petition together
  with [m]y spouse."

          c.   The Petition attaches affidavits from individuals
purporting to know both SAAB and CC-1, in which the aff iants
attested that their marriage was genuine. One such affidavit (the
"CC-2 Affidavit") is from an individual ("CC-2") whose signature
appears on the CC-2 Affidavit dated February 28, 2015.

           d.    The CC-2 Affidavit states, in part:

                 i. "I have known Ali Saab for more than 5 years
now. He was a regular at my restaurant and we slowly became good
friends.  He introduced me to his wife, [CC-1], when they started
dating about 3 and half years ago."

                 ii. "They come to my restaurant          frequently    and
 [CC-1] has become close friends with my fianc~."

                    "Ali and [CC-1] were part of the close group
                 111.
of friends I invited for the grand opening of my new restaurant in
Harlem last year and they are also invited to my upcoming wedding
celebration in Morocco this year in August."
                                                   /

           e.     Both SAAB and CC-1 signed the Petition under
penalty of      perjury.   Specifically, they each affirmed the
following:




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                   I certify, under penalty of perjury under the
                   laws of the United States of America, that
                   this petition and the evidence submitted with
                   it is all true and correct.    If conditional
                   residence was based on a marriage, I further
                   certify that the marriage was entered in
                   accordance with the laws of the place where
                   the marriage took place and was not for the
                   purpose of p~ocuring an immigration benefit.

               38. Based on my review of material obtained from execution
         of the Search Warrants, I have further learned that, on or about
         February 25, 2015, CC-1 emailed an individual whose email address
         matches CC-2's name. CC-l's email stated, "Here it is. Feel free
         to make ?DY changes," a~d attached two _documents.    On~ of the
         attachments appears to be the CC-2 Affidavit, containing the
         language quoted in Paragraph 37(d), above.

              39. On or about February 27, 2018, other law enforcement
         agents interviewed CC-2.   Based on my review of a report of that
         interview, I have learned the following, in substance and in part:

                   a.   After being shown a photograph of ALEXEI SAAB,
         a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a "Rachid," the
         defendant, CC-2 identified SAAB as an individual he had met on
         only approximately two occasions, both in 2015. CC-2 was unable
         to recall SAAB's first or last names.

                   b.   CC-2 and CC-1 were friends, and CC-1 introduced CC-
         2 to SAAB. CC-2 recalled meeting SAAB at CC-2's restaurant, which
         is located in Manhattan, New York.

                   c.    CC-2 identified the signature on the CC-2 Affidavit
         as his own, and confirmed that his last name was misspelled on the
         CC-2 Affidavit.

                   d.   CC-2 recalled that CC-1 came to CC-2's restaurant
         in Manhattan and asked CC-2 to sign the CC-2 Affidavit.       The
         information on the CC-2 Affidavit was already filled out when CC-
         2 reviewed it.   The facts in the CC-2 Affidavit were false, and
         CC-2 could not honestly attest to the fact that the marriage
         between SAAB and CC-1 was genuine.

                   e.   Although the CC-2 Affidavit was notarized, CC-2 did
         not recall signing it in the presence of a notary public.




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       SAAB Admits That His Marriage to CC-1 Is Fraudulent

     4 0. Based on my participation in the Saab Interviews, my
conversations with other law enforcement officers about these
interviews, and my review of reports of these interviews, I have
learned the following, in substance and in part:

             a.  ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex
Saab," a/k/a "Rachid," the defendant, proposed to CC-1 that they
stage a marriage so that CC-1 could obtain her United States
citizenship, and offered to marry CC-1 in exchange for money.

             b.    CC-1 agreed to pay SAAB $20,000 in exchange for
SAAB agreeing to marry her.    CC-l's first payment to SAAB was
$5,000 in cash, and
                 .
                     she paid the .rest in smaller .increments.

             c.    SAAB maintained a bedroom in CC-l's apartment,
·which he went to almost every weekend.

             d.   SAAB and CC-1 had recently discussed ending their
arrangement because CC-1 had not yet received her citizenship.


          WHEREFORE, deponent prays that a warrant be issued and
that ALEXEI SAAB, a/k/a "Ali Hassan Saab," a/k/a "Alex Saab," a/k/a
"Rachid," the defendant, be arrested and imprisoned or bailed, as
the case may be.




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